
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-258-CV



IN RE APRIL DRAKE	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL: &nbsp;WALKER, GARDNER, and MEIER, JJ. 



DELIVERED: &nbsp;August 4, 2009 &nbsp;

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.




